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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 In re:                                          )      Chapter 11
                                                 )
          BCause Mining LLC, et al.              )      Case No. 19-10562
                                                 )
                             Debtors.            )      Honorable Janet S. Baer
                                                 )
                                                 )      Hearing Date: July 23, 2019
                                                 )      Hearing Time: 9:30 a.m.

                                        NOTICE OF MOTION

 TO:       See Attached Service List

        PLEASE TAKE NOTICE that on July 23, 2019 at 9:30 a.m. or as soon thereafter as
counsel may be heard, I shall appear before the Honorable Janet S. Baer of the United States
Bankruptcy Court for the Northern District of Illinois, or any other judge sitting in her place and
stead, in Courtroom 615, Everett McKinley Dirksen, 219 South Dearborn Street, Chicago, Illinois,
and shall then and there present the BMG OPERATIONS LTD.’S MOTION FOR RELIEF
FROM THE AUTOMATIC STAY, a copy of which is attached and herewith served upon you,
and shall pray for the entry of an order in conformity with the prayer of said pleading.

          AT WHICH TIME AND PLACE you may appear if you so see fit.

 Dated: July 15, 2019                          Respectfully submitted,

                                               BMG OPERATIONS, LTD.

                                               By:   /s/ Christina M. Sanfelippo

                                               Brian L. Shaw
                                               Christina M. Sanfelippo
                                               FOX ROTHSCHILD LLP
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                                     CERTIFICATE OF SERVICE

         Christina M. Sanfelippo, an attorney, certifies that she caused to be served a true copy of
 the above and foregoing notice and attached pleading upon the Electronic Mail Notice List through
 the ECF System which sent notification of such filing via electronic means on July 15, 2019, or
 First Class U.S. Mail on July 16, 2019, as indicated.

                                                        /s/ Christina M. Sanfelippo

Mailing Information for Case 19-10562
Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.
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Parties Served Via United States First Class Mail

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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

    In re:                                            )      Chapter 11
                                                      )
              BCause Mining LLC, et al.               )      Case No. 19-10562
                                                      )
                             Debtors.                 )      Honorable Janet S. Baer
                                                      )

BMG OPERATIONS LTD.’S MOTION FOR RELIEF FROM THE AUTOMATIC STAY

             BMG Operations LTD. (“BMG”) hereby moves the Court, pursuant to 11 U.S.C.

§ 362(d)(1), Fed. R. Bankr. P. 4001(d) and Local Rule 4001-1,1 for the entry of an order granting

BMG relief from the automatic stay to (i) allow BMG to immediately terminate its Hosting

Agreement with BCause Mining LLC (the “Debtor”) or, in the alternative, (ii) permit BMG to

immediately remove its property from the Facility and issue a notice of non-renewal of the Hosting

Agreement, and (iii) permit BMG to setoff its monthly hosting payments against its damages

caused by the Debtor’s conduct. In support of the Motion, BMG respectfully states as follows:

                                            JURISDICTION

             1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.

             2.    The statutory bases for the relief requested herein are sections 105(a) and 362(d)(1)

of the Bankruptcy Code and Bankruptcy Rule 4001(d).




1
    The Required Statement form required by Local Rule 4001-1 is attached hereto as Exhibit 1.


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                                            BACKGROUND

          3.      On November 30, 2017, BMG and the Debtor entered into a Hosting Services

Agreement (the “Hosting Agreement”),2 pursuant to which the Debtor agreed to provide services

and to host BMG’s crypto currency mining computer equipment units at its datacenter in Virginia

Beach, Virginia (the “Facility”).

          4.      The Hosting Agreement has a two year term and renews automatically for

additional one year terms unless either party expresses an intention to not renew by written notice

at least two months before the expiration of the term. See Exhibit 2, Art 9(1). Accordingly, BMG

must give a notice of non-renewal by September 30, 2019 in order to avoid automatic renewal of

the Hosting Agreement.

          5.      As consideration for the Debtor’s hosting services, BMG pays the Debtor a monthly

hosting fee. See Exhibit 2, Art. 2(1), App. D. The Debtor presents BMG with an invoice for the

monthly hosting fee two months in advance, payable 30 days net, so that BMG can make payments

in advance of the month in which the hosting service is to be rendered. See Exhibit 2, Art. 2(1)(c).

The Hosting Agreement provides for a 10-business-day grace period before payments are

considered past due. Id. at App. C(3).

          6.      Under the terms of the Hosting Agreement, the Debtor is obligated to ensure the

normal function and condition of the engineering and technical infrastructures, as well as the

electrical network, within the Facility. See Exhibit 2, App. B(5). The Debtor is also contractually

obligated to immediately inform BMG of any emergencies that complicate or worsen the provision

of service, to mitigate the consequences of such emergencies, and to take all reasonable measures

for the preservation of BMG’s equipment. Id. at App. B(11), (12). In addition, the Debtor is



2
    A copy of the Hosting Agreement is attached hereto as Exhibit 2.


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obligated to respond to any under-performing equipment within one hour from detection by the

monitoring system and must restore full operation of the miners within four hours from detection

unless repairs are required. Id. at App. A. Should the miners require repairs by a manufacturer or

third-party repairer, the Debtor must ship the miners out within two working days of detection. Id.

        7.      The Hosting Agreement further provides that the Debtor is to indemnify and hold

harmless BMG from any and all losses, costs, liabilities, damages and expenses resulting from any

breach of the Hosting Agreement. See Exhibit 2, Art. 8(3). In addition, the Debtor is obligated to

maintain insurance or indemnity protection for BMG’s miners. See Id. at Art. 8(4).

        8.      Currently, BMG hosts 4,500 miners at the Debtor’s Facility. BMG’s fleet of 4,500

miners generates net revenues of $9,969.23 per day (assuming BTC network hash power of 72.628

EH/S) and approximately $309,046 per 31-day month. See Affidavit of Joseph Chin, attached

hereto as Exhibit 3.

        9.      On June 9, 2019, there was an electrical issue at the Debtor’s Facility, which

resulted in the destruction or damage of 325 of BMG’s miners (the “Surge Event”).3 Id. As a direct

result of the Surge Event, 177 miners were destroyed and 148 miners were damaged. Id.

        10.     To date, the 325 miners damaged during the Surge Event remain offline. As of July

15, 2019, BMG has lost approximately $25,920 in gross revenue ($720 per day for 325 miners) as

a direct result of the Surge Event, as those 325 miners are offline, unable to generate revenue. Id.

BMG’s damages will continue to accrue at this rate until the miners are returned to service.

        11.     In order to replace the 177 miners that were destroyed in the Surge Event, BMG

will have to spend at least $639 per unit (for used miners, if they are available on the market), for



3
  While the affidavit of Mr. Chin describes the power event as a “surge,” it was subsequently learned that
the damage to the BMG miners likely resulted from the shutdown of BCause Mining’s cooling fans without
a corresponding shutdown of the miners residing and operating in the BCause Mining Facility.


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a total replacement cost of at least $113,103.4 Id. BMG will have to spend approximately $450 per

unit to repair the 148 damaged miners, for a total repair cost of $66,600. Id. Based on BMG’s

calculations, to date, the Surge Event caused BMG to suffer damages in an amount no less than

$205,623 ($25,920 in monthly gross revenue, $113,103 in replacement costs, and $66,600 in repair

costs).

          12.    Following the Surge Event, BMG has attempted to reconcile the full extent of the

damages to its miners. In connection with those efforts, BMG chose to take advantage of the 10-

business-day grace period provided in the Hosting Agreement and hold off on making any payment

towards the September hosting fee until it could determine the extent of its damages.

          13.    On July 10, 2019, Shawn Dailey, the Debtor’s Director of Technology, emailed

BMG advising that he had been instructed to suspend mining for CoinGeek5 at Bcause until the

Debtor received communication regarding the outstanding July hosting fee pre-payment (which

would pay for hosting during the month of August 2019). See Chin Affidavit, Exhibit 3. The

Debtor suspended the operations of BMG’s miners on July 10, 2019 despite having been paid to

provide these services through at least July 31, 2019. This cessation of services of the remaining

miners will only increase BMG’s damages.

          14.    Notably, it does not appear that the Debtors have the resources, financial or

otherwise, necessary to cure its breaches under the Hosting Agreement or pay damages to BMG

for its post-petition breaches.




4
  In light of the limited availability of new and used miners, it is unrealistic that BMG could replace all of
its damaged miners at this low price. The initial purchase costs of the miners ranged from $1,983.48 to
$2,133.88 in 2018. However, in an abundance of caution, BMG has utilized this price point only for
purposes of this Motion and reserves its right to assert damages for the entire cost of replacing its miners.
5
    CoinGeek is a name under which BMG does business.


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                                       RELIEF REQUESTED

        15.     BMG respectfully requests the entry of an order modifying the automatic stay to

allow BMG to terminate immediately the Hosting Agreement for cause due to the Debtor’s

material and incurable breaches. In the alternative, if the Court will not authorize BMG to

terminate the Hosting Agreement despite the Debtor’s material breaches, then BMG requests the

entry of an order modifying the automatic stay to allow BMG to immediately remove its property

from the Facility in order to mitigate damages and issue a notice of non-renewal of the Hosting

Agreement. Additionally, BMG seeks to modify the automatic stay in order to setoff its monthly

hosting fees and obligations against the damages caused by the Debtor’s material post-petition

breaches of the Hosting Agreement.

                                BASIS FOR RELIEF REQUESTED

        16.     Section 362(d)(1) mandates that a court must accord relief from the automatic stay

to any party who establishes “cause” for the relief. There is no definition of the term “cause” as

used in section 362(d)(1). In re Betzold, 316 B.R. 906, 915 (Bankr.N.D.Ill.2004) (Schwartz, J.)

(citing In re Fernstrom Storage and Van Co., 938 F.2d 731, 735 (7th Cir.1991)). The determination

of whether cause exists to lift the stay is a fact-intensive inquiry made on a case-by-case basis. Id.

The bankruptcy court must look at the totality of the circumstances, balance the inherent hardships

on all parties, and base its decision on the degree of hardship and the overall goals of the

Bankruptcy Code. In re Opelika Mfg. Corp., 66 B.R. 444, 449 (Bankr. N.D. Ill. 1986).

        17.     Factors generally looked to in determining whether to modify the stay for cause

include interference with the bankruptcy, good or bad faith of the debtor, injury to the debtor and

other creditors if the stay is modified, injury to the movant if the stay is not modified, and the

proportionality of the harms from modifying or continuing the stay. In re Milne, 185 B.R. 280,




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283 (N.D. Ill. 1995). Cause to lift the stay exists when the stay harms the creditor and lifting the

stay will not unjustly harm the debtor or other creditors. In re Opelika Mfg. Corp., 66 B.R. at 448.

    I. Cause Exists To Modify The Automatic Stay To Allow BMG To Immediately
       Terminate The Hosting Agreement.

        18.     The Debtor’s decision to suspend hosting services to BMG coupled with the

damage to BMG’s property from the power surge on June 9, 2019 constitute material and incurable

breaches of the Hosting Agreement. These material and incurable breaches by the Debtor give rise

to the requisite cause for BMG to modify the automatic stay and immediately terminate the Hosting

Agreement.

        19.     By this Motion, BMG seeks to modify the stay so that it may proceed to enforce its

bargained for right to terminate for cause under the Hosting Agreement. The Hosting Agreement

provides that either party may terminate the agreement for cause if the other party defaults in any

material respect in the performance of its duties or obligations. See Exhibit 2, Art. 9(3). Here, the

Debtor’s decision to suspend BMG’s hosting services despite the fact that BMG has already paid

the Debtor for such services through July 31, 2019, as well as the fact that BMG’s payment could

not be deemed past due until July 15, 2019, constitute a material breach.

        20.     The Debtor’s wrongful refusal to provide services that BMG has already paid for

will cause BMG an additional approximate loss of $309,046 per 31-day month. See Exhibit 3,

Chin Affidavit. Furthermore, the Debtor’s refusal to perform under the Hosting Agreement, i.e.,

to provide mining services for July, relieves BMG of its obligation to perform under the contract.

See In re Walbran, No. 00 B 23784, 2000 WL 33668035, at *3 (Bankr. N.D. Ill. Nov. 22, 2000)

(“[A] breach or repudiation by one party to a contract relieves the other party of the obligation to

perform and takes a contract out of executory status for the purpose of § 365.”).




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        21.     The Debtor’s failure to perform its obligations under the Hosting Agreement also

constitutes a material breach. The Debtor’s failure to ensure the normal function and condition of

its Facility’s electrical network—as it is required to do under the terms of the agreement—caused

no less than 325 of BMG’s miners to be destroyed or materially damaged to the point of no

operation. Not only did the Debtor fail to prevent this damage, but it also failed to notify BMG of

the damage within the timeframe required by the Hosting Agreement, failed to repair the miners

or have the miners sent out for repair, and failed to otherwise mitigate the damage to BMG’s

miners. Based on BMG’s calculations, the Surge Event caused BMG to suffer damages in an

amount no less than $205,623 ($25,920 in monthly gross revenue, $113,103 in replacement costs,

and $66,600 in repair costs), and these damages continue to accrue daily.

        22.     In light of these material and incurable breaches, the totality of the circumstances

favor modification of the automatic stay. By failing to provide BMG services under the Hosting

Agreement, the Debtor breached its obligations to BMG thereby depriving BMG of a substantial,

bargained-for benefit, i.e., mining service for BMG’s miners. Allowing BMG to terminate the

Hosting Agreement would not interfere with the Debtor’s bankruptcy case because BMG has the

contractual right to terminate the Hosting Agreement for cause. The automatic stay is not designed

to deprive parties of the benefit of their bargain. See Valley Forge Plaza Assocs. v. Schwartz, 114

B.R. 60, 62 (E.D. Va. 1990) (“A debtor in bankruptcy has no greater rights or powers under a

contract than the debtor would have outside of bankruptcy.”).

        23.     The Hosting Agreement does provide for a 30-day cure period during which the

defaulting party can attempt to substantially cure any material breach. See Exhibit 2, Art. 9(3).

However, any attempt by the Debtor to cure these material breaches would most likely be futile.

The post-petition damage to BMG’s property gives rise to significant administrative claim which




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increases daily. See In re Atl. Container Corp., 133 B.R. 980, 992 (Bankr. N.D. Ill. 1991); In re

United Trucking Service, Inc., 851 F.2d 159, 162 (6th Cir. 1988). It is clear from the Debtor’s

financials that the estate does not have the resources to pay BMG’s administrative claim and cure

the material breaches within the next 30 days.

        24.     BMG has already been harmed by the Debtor’s actions, and it will continue to suffer

if the automatic stay is not immediately modified. BMG’s 325 damaged and destroyed miners

remain off-line because of the power surge and the remaining miners are offline due to the Debtor’s

actions. BMG has no way to mitigate its damages. Delaying termination of the Hosting Agreement

will only increase BMG’s administrative expense claim against the estate.

        25.     In contrast, the harm that the Debtor may suffer as a result of BMG exercising its

contractual rights, if any, is relatively negligible. The Debtor will likely argue that modifying the

stay would deprive it of monthly hosting fees from BMG. However, both parties have bargained

for termination rights under the Hosting Agreement. Also, the loss of BMG’s monthly hosting fees

would be offset by a corresponding decrease in energy costs and would mitigate an administrative

claim against the Debtor’s estate that will increase daily if such mitigation cannot immediately

take place.

        26.     At bottom, cause exists to allow BMG to exercise its contractual rights and cut its

continuing losses by immediately terminating the Hosting Agreement. BMG should not be forced

incur additional damages over the next four months due to the Debtor’s material breaches.

    II. Cause Exists To Modify The Automatic Stay To Allow BMG To Issue A Notice of
        Non-Renewal And Mitigate Damages

        27.     In the alternative, BMG requests that the Court modify the stay to allow BMG to

(i) immediately remove its miners from the Facility so that it may mitigate its damages and (ii)

serve the Debtor with a notice of non-renewal.



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        28.     The totality of the circumstances demonstrate that cause exists to modify the

automatic stay and grant BMG this alternative relief. BMG has an obligation to mitigate its

damages. See Restatement (Second) of Contracts § 350 cmt. b (1981)(“As a general rule, a party

cannot recover damages for loss that he could have avoided by reasonable efforts. Once a party

has reason to know that performance by the other party will not be forthcoming, he is ordinarily

expected to stop his own performance to avoid further expenditure.”). There are four months left

under the original term of the Hosting Agreement. See Exhibit 2, Art. 9(1). If BMG is unable to

promptly act to mitigate its damages, its administrative claim for post-petition damages and breach

will continue to increase. An ever increasing administrative claim will also increase the likelihood

of the administrative insolvency of this bankruptcy case.

        29.     Again, the Debtor is refusing to provide mining services to BMG that BMG has

already paid for and, as a result, BMG will incur damages of approximately $309,046 per month.

See Exhibit 3, Chin Affidavit. Even if the Debtor decides to recommence mining on BMG’s

undamaged miners, BMG will still incur damages of $22,320 per month due to the 325 miners that

are offline and the Debtor’s failure to provide services and maintenance per the Hosting

Agreement. By moving the operating miners to another facility, BMG will be able to cut off its

continuing losses caused by the Debtor. Allowing BMG to remove its property from the Debtor’s

facility in order to mitigate the damages caused by the Debtor’s material breaches in no way harms

the Debtor. Also, as noted above, removal of the miners will cause a corresponding decrease in

energy costs and would mitigate BMG’s administrative claim against the estate.

        30.     In addition, pursuant to the terms of the Hosting Agreement, BMG must give notice

of non-renewal by September 30, 2019 in order to avoid automatic renewal. See Exhibit 2, Art.




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9(1). While BMG does not believe issuing such a notice would violate the automatic stay, BMG

seeks authority to give notice of non-renewal to the Debtor out of an abundance of caution.

    III.Cause Exists To Modify The Automatic Stay In Order To Allow BMG To Exercise
        Its Setoff Rights.

        31.     BMG further requests that the Court modify the automatic stay to allow it to setoff

certain post-petition debts against its damages caused by the Debtor’s conduct pursuant to section

553 of the Bankruptcy Code.

        32.     “The allowance of a setoff is a decision that lies within the sound discretion of the

bankruptcy court.” Meyer Med. Physicians Grp., Ltd. v. Health Care Serv. Corp., 385 F.3d 1039,

1041 (7th Cir. 2004). Described generally, “[t]he right of setoff (also called ‘offset’) allows entities

that owe each other money to apply their mutual debts against each other, thereby avoiding ‘the

absurdity of making A pay B when B owes A.’” See Citizens Bank of Maryland v. Strumpf,

516 U.S. 16, 18 (1995). In order to exercise setoff rights under section 553, a creditor must prove

that there is “mutuality” between its claim against the estate, and the debt sought to be setoff. In

re S.N.A. Nut Co., 191 B.R. 117, 120 (Bankr. N.D. Ill. 1996). The general rule is that mutuality of

debt is “satisfied when the offsetting obligations are held by the same parties in the same capacity

(that is, as obligor and obligee) are valid and enforceable, and (if the issue arises in bankruptcy)

both offsetting obligations arise either prepetition or postpetition, even if they arose at different

times out of different transactions.” In re Doctors Hosp. of Hyde Park, Inc., 337 F.3d 951, 955

(7th Cir. 2003).

        33.     The existence of the right of setoff alone constitutes “cause” sufficient to grant

relief from the automatic stay to permit the creditor’s setoff of mutual claims and debts. See In re

Nuclear Imaging Sys. Inc., 260 B.R. 724, 730 (Bankr. E.D. Pa. 2002) (“[c]ourts have generally

concluded that the existence of mutual obligations subject to set-off constitute sufficient ‘cause’



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to meet the creditor’s initial evidentiary burden in seeking relief from the automatic stay”). A

creditor can establish a prima facie showing of “cause” under section 362(d)(1) simply by

demonstrating its right to setoff. See Szymanski v. Wachovia Bank, N.A. (In re Szymanski), 413

B.R. 232, 243 (Bankr. E.D. Pa. 2009) (“[c]ourts generally recognize that, by establishing a right

of setoff, the creditor has established a prima facie showing of ‘cause’ for relief from the automatic

stay[.]”) (citing In re Ealy, 392 B.R. 408, 414 (Bankr. E.D. Ark. 2008)); see also United States v.

Parrish (In re Parrish), 75 B.R. 14, 16 (N.D. Tex. 1987) (reversing the denial of motion to lift stay

where the creditor had established right to setoff).

        34.     BMG and the Debtor hold post-petition claims against one another. BMG accrued

its claims against the Debtor as a result of the Debtor’s post-petition breaches of the Hosting

Agreement. BMG, in turn, owes money to the Debtor for monthly hosting fees for the remaining

term of the Hosting Agreement. BMG and the Debtor hold these mutual obligations in the same

capacity – as service provider and service receiver. BMG’s post-petition claim for damages against

the Debtor is valid and enforceable because the Hosting Agreement provides that the Debtor must

indemnify BMG from such damages. See Exhibit 2, Art. 8(3). Additionally, BMG is required to

make prepayments to the Debtor for hosting services at the invoiced price. BMG’s obligation to

prepay for September services arose post-petition, as will its obligation to prepay for services for

any other months under the Hosting Agreement. Therefore, each party is legally bound to make

payment to the other on its respective obligations.

        35.     For the foregoing reasons, BMG has a valid right under section 553 of the

Bankruptcy Code to setoff any monthly hosting fees owed to the Debtor against the damages

resulting from the Debtor’s material breaches of the Hosting Agreement. Consequently, cause




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exists under section 362(d)(1) of the Bankruptcy Code to permit BMG relief from the automatic

stay in order to effectuate its rights of setoff.

                              WAIVER OF BANKRUPTCY RULE 4001

        36.     BMG respectfully requests that in the event the Motion is granted, that the stay

under Rule 4001(a)(3) of the Federal Rules of Bankruptcy Procedure be waived such that the terms

and conditions of the Order approving the Motion shall be immediately effective and enforceable

upon its entry to enable BMG to promptly act to mitigate its damages.

        WHEREFORE, for the reasons stated above, BMG Operations, Ltd. respectfully requests

the entry of an order: (a) granting BMG relief from the automatic stay to allow BMG to

immediately terminate its Hosting Agreement with BCause Mining LLC; or, in the alternative, (b)

granting BMG relief from the automatic stay to permit BMG to immediately remove its property

from the Facility and issue a notice of non-renewal of the Hosting Agreement; and (c) granting

BMG relief from the automatic stay to setoff its monthly hosting payments against its damages

caused by the Debtor’s material, post-petition breaches of the Hosting Agreement; (d) providing

that the 14-day stay under Fed. R. Bankr. P. 4001(a)(3) is waived; and (e) granting such other and

further relief as is just and equitable.



 Dated: July 15, 2019                                Respectfully submitted,

                                                     BMG OPERATIONS, LTD.

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